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   Attorneys for Defendant,
 5 SLAINTE BARS, LLC
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 7
                               UNITED STATES DISTRICT COURT
 8
                              NORTHERN DISTRICT OF CALIFORNIA
 9
     BRIAN WHITAKER,                           Case No. 3:21-cv-03750-JSC
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     Plaintiff,                                DECLARATION OF ARA SAHELIAN IN
11                                             SUPPORT OF DEFENDANT SLAINTE
     v.                                        BARS, LLC’S SUPPLEMENTAL BRIEF
12                                             AS TO PLAINTIFF BRIAN WHITAKER’S
   SLAINTE BARS, LLC, a California Limited     STANDING
13 Liability Company; and DOES 1 through 10,
14 Defendants.                                 [Defendant Slainte Bar, LLC’S Supplemental
                                               Brief as to Plaintiff Brian Whitaker’s Standing
15                                             and Request for Judicial Notice with Exhibits
                                               submitted concurrently herewith]
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                                               Hon. Jacqueline Scott Corley
17                                             Complaint Filed: May 19, 2021
                                               Trial Date: None Set
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                                                                    Case No. 3:21-cv-03750-JSC
                                                      SAHELIAN DECLARATION ISO SUPP. BRIEF
 1                               DECLARATION OF ARA SAHELIAN

 2 I, Ara Sahelian, state and declare as follows:
 3          1.      I am an attorney duly licensed to practice before the Courts of the State of

 4 California. I work at Sahelian Law Offices, attorneys of record for Defendant Slainte Bars, LLC
 5 in the action entitled Whitaker v. Slainte Bars, LLC, U.S.D.C. Case No. 21-cv-03750-JSC. I make
 6 this declaration in support of Defendant Slainte Bar, LLC’s Supplemental Brief as to Plaintiff
 7 Brian Whitaker’s Standing (“Supplemental Brief”). I have personal knowledge of the facts
 8 contained in this declaration, and if called as a witness, could and would testify competently
 9 thereto.
10          2.      Attached hereto as Exhibit A is a true and correct copy of the entire transcript of

11 the evidentiary hearing which was held on February 7, 2022 in this matter and which I attended
12 and in which I examined Plaintiff.
13          3.      Attached hereto as Exhibit B is a true and correct copy of the deposition transcript

14 of Brian Whitaker which I took in Whitaker v. The Goltz Corp., on November 11, 2021 in Case
15 No. 2:21-cv-00527-JAM-CKD filed in the Central District of California. This document was
16 included on Defendant’s Exhibit List at Docket No. 42 pursuant to the instructions contained in
17 the Court’s Order Re: Evidentiary Hearing at Docket No. 38 and was provided to the Court on
18 February 4, 2022 and was admitted into evidence by the Court at the Evidentiary Hearing which
19 took place on February 7, 2022 at 53:19-54:3. The same true and correct copy is now being
20 provided to the Court as Exhibit B to this Declaration in support of Defendant’s Supplemental
21 Brief for ease of use for the Court and Plaintiff’s counsel.
22          4.      Attached hereto as Exhibit C is a true and correct copy of the trial transcript of the

23 case I tried in Whitaker v. Pachanga Mexican Grill on December 2, 2021 in Case No.
24 20STLC03367 filed in the Superior Court of California, County of Los Angeles. This document
25 was previously included on Defendant’s Exhibit List at Docket No. 42 pursuant to the instructions
26 contained in the Court’s Order Re: Evidentiary Hearing at Docket No. 38 and was provided to the
27 Court on February 4, 2022 and was admitted into evidence by the Court at the Evidentiary Hearing
28 which took place on February 7, 2022 at 53:19-54:3. The same true and correct copy is now being

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                                                                  SAHELIAN DECLARATION ISO SUPP. BRIEF
 1 provided to the court as Exhibit C to this Declaration in support of Defendant’s Supplemental
 2 Brief for ease of use for the Court and Plaintiff’s counsel.
 3          5.        Attached hereto as Exhibit D is a true and correct copy of the deposition

 4 transcript of a deposition taken of Brian Whitaker on February 7, 2022 in Whitaker v. Peet’s
 5 Coffee, Inc., Case No. 3:21-CV-07055-WHA, which is a case that was filed in the Northern
 6 District of California on September 13, 2021. The instant transcript has also been partially filed in
 7 that case at Docket No. 25-1 by Defendant Peet’s Coffee Inc.
 8          6.      Attached hereto as Exhibit E is a true and correct copy of the deposition transcript

 9 of a deposition I took of Brian Whitaker on July 23, 2018 in Whitaker v. Kashani, et al., Case No.
10 2:18-cv-00346-JFW-PLA filed in the Central District of California on January 16, 2018. This
11 document was previously included on Defendant’s Exhibit List at Docket No. 42 pursuant to the
12 instructions contained in the Court’s Order Re: Evidentiary Hearing at Docket No. 38 and which
13 was admitted into evidence by the Court at the Evidentiary Hearing which took place on February
14 7, 2022 at 53:19-54:3.
15          I declare under penalty of perjury under the laws of the United States of America and

16 California that the foregoing is true and correct.
17          Executed on March 14, 2022 at Santa Clara, California.

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                                                   /s/ Ara Sahelian
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                                                  ARA SAHELIAN
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                                                                  SAHELIAN DECLARATION ISO SUPP. BRIEF
